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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-mj-195
                                                   )
 ETHAN NORDEAN,                                    ) Chief Judge Beryl A. Howell
                                                   )
        Defendant.                                 )
                                                   )

       MOTION FOR RELEASE FROM CUSTODY PURSUANT TO 18 U.S.C. § 3060

       Defendant Nordean, through his undersigned counsel, files this motion for release from

custody pursuant to 18 U.S.C. § 3060(d).

       Defendant Nordean was arrested pursuant to a criminal complaint on February 3, 2021.

An initial appearance was held the same day before Chief Magistrate Judge Brian Tsuchida in

the Western District of Washington. U.S. v. Nordean, 21-mj-67 (W.D. Wash., Feb. 3, 2021).

Pursuant to 18 U.S.C. § 3060(a) and Federal Rule of Criminal Procedure 5.1, a preliminary

examination for probable cause must be held within 14 days “following the date of the initial

appearance of the arrested person before such officer if the arrested person is held in custody

without any provision for release.” § 3060(b)(1). If a preliminary hearing is not held, the

arrested person “shall be discharged from custody or from the requirement of bail or any other

condition of release. . .” § 3060(d) (emphasis added).

       Mr. Nordean has not received a preliminary examination and over 14 days have followed

his initial appearance. Accordingly, he must be discharged from custody.

Dated: February 26, 2021                      Respectfully submitted.
                                              DAVID B. SMITH, PLLC

                                              /s/ David B. Smith

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                                     Certificate of Service

       I hereby certify that on the 26th day of February, 2021, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system and the Case Administrator Brittany Bryant, which

will send a notification of such filing (NEF) to the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
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